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UNITED STATES DISTRICT COURT | ours
SOUTHERN DISTRICT OF NEW YORK ee

 

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UNITED STATES OF AMERICA, an | HW of

y " ORDER

JASON BOGAN, . 19 CR'700-3 (VB) |
Defendant. : |

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Sentencing in this case is scheduled for May 5, 2021, at 11:00 am. The Court expects to
conduct this proceeding in person at the Hon. Charles L. Brieant, Jr., Courthouse, 300 Quarropas
Street, White Plains, NY 10601.
Defendant’s sentencing submission shall be filed by April 23, 2021.
The government’s submission shall be filed by April 30, 2021.
Per the SDNY COVID-19 Courthouse Entry Program, anyone who appears at any SDNY
courthouse must complete a questionnaire and have his or her temperature taken. The
questionnaire is located on the Court’s website at: !

https://www.nysd.uscourts.gov/sites/default/files/2020-
09/SDNY%20COVID%20ENTRY%20QUESTIONNAIRE%20GUIDE%209-2-2020.pdf.

Completing the questionnaire online and ahead of time will save time and effort upon entry.
Only those individuals who meet the entry requirements established by the questionnaire will be
permitted entry. Please contact Chambers if you do not meet the requirements.

Dated: January 28, 2021
White Plains, NY

SO ORDERED:

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Vincent L, Briccetti
United States District Judge

 
